                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ALASKA


    ROCKY JAY BURNS,

                          Plaintiff,

                  v.

    JAHNA LINDEMUTH, et al.,                    Case No. 3:18-cv-290-SLG

                          Defendant.


                                   ORDER OF DISMISSAL

         Self-represented litigant Rocky Jay Burns filed a Complaint and Request for

Injunction on December 10, 2018.1 Additionally, Mr. Burns filed a Civil Cover Sheet

and an Application to Proceed in District Court without Prepaying Fees or Costs.2

         In his complaint, Mr. Burns alleges that the State of Alaska has violated

several federal wiretapping and data communications laws as well as the U.S.

Constitution. Mr. Burns alleges the warrant used to collect his communications

violated federal law. Mr. Burns alleges that from this improper data collection, the

State of Alaska has sought to prosecute Mr. Burns. Mr. Burns states that he has

a pending state court criminal case.

         This Court takes judicial notice of his pending criminal case 3AN-15-

08427CR.3 The State of Alaska has charged Mr. Burns with four Class C felony


1   Docket 1.
2   Dockets 2 & 3.
3   Judicial notice is the “court’s acceptance, for purposes of convenience and without



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counts of violating AS11.71.040(a)(2), Misconduct Involving a Controlled

Substance in the Fourth Degree, and one Class A misdemeanor count of violating

AS 11.71.050(a)(1) Misconduct Involving a Controlled Substance in the Fifth

Degree.

         Mr. Burns requests that the Court grant a “temporary restraining order

against the State of Alaska and it’s offices from prosecuting ROCKY BURNS until

a question of law can be reached pertaining to Federal Wiretapping Statutes being

followed by Alaska State Law Enforcement as a whole or in part by the Anchorage

Police Department.”4 Mr. Burns also indicates that he is seeking assistance from

the Ninth Circuit Court of Appeals Pro Bono Program in order to file a writ of

mandamus.5

                              SCREENING REQUIREMENT

         Federal law requires a court to conduct an initial screening of a civil

complaint filed by a self-represented litigant seeking IFP status.6 In this screening,

a court shall dismiss the case at any time if the court determines that the action:

                (i)    is frivolous or malicious;


requiring a party’s proof, of a well-known and indisputable fact; the court’s power to
accept such a fact.” Black’s Law Dictionary (10th ed. 2014); see also Headwaters Inc. v.
U.S. Forest Service, 399 F.3d 1047, 1051 n.3 (9th Cir. 2005) (“Materials from a
proceeding in another tribunal are appropriate for judicial notice.”) (internal quotation
marks and citation omitted); see also Fed. R. Evid. 201.
4   Docket 1 at 5.
5   Docket 1 at 5.
6   See, e.g., Lopez v. Smith, 203 F.3d 1122, 1126 n.7 (9th Cir. 2000) (clarifying that the
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               (ii)    fails to state a claim on which relief may be granted; or

               (iii)   seeks monetary relief against a defendant who is immune
                       from such relief.7

         To determine whether a complaint states a valid claim for relief, courts

consider whether the complaint contains sufficient factual matter that, if accepted

as true, “state[s] a claim to relief that is plausible on its face.”8 In conducting its

review, a court must liberally construe a self-represented plaintiff’s pleading and

give the plaintiff the benefit of the doubt.9 Before a court may dismiss any portion

of a complaint for failure to state a claim upon which relief may be granted, the

court must provide the plaintiff with a statement of the deficiencies in the complaint

and an opportunity to amend or otherwise address the problems, unless to do so

would be futile.10




relevant law, 28 U.S.C. § 1915(e) “applies to all [IFP] complaints,” and not just those
filed by prisoners).
7   28 U.S.C. § 1915(e)(2)(B).
8 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly, 550
U.S. 544, 570 (2007)). In making this determination, a court may consider “materials
that are submitted with and attached to the Complaint.” United States v. Corinthian
Colleges, 655 F.3d 984, 999 (9th Cir. 2011) (citing Lee v. L.A., 250 F.3d 668, 688 (9th
Cir. 2001)).
9See Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010) (citing Bretz v. Kelman, 773 F.2d
1026, 1027 n.1 (9th Cir. 1985) (en banc)).
10See Gordon v. City of Oakland, 627 F.3d 1092, 1094 (9th Cir. 2010) (citing Albrecht v.
Lund, 845 F.2d 193, 195 (9th Cir. 1988)).

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                                         DISCUSSION

         Mr. Burns’ complaint alleges that the State of Alaska has violated federal

wiretapping laws and violated Mr. Burns’ constitutional rights. The complaint

further alleges that Mr. Burns is being improperly criminally prosecuted and

requests this Court to intercede in the state proceeding.11 The complaint fails to

present a claim with a proper federal question. Therefore, this Court has no subject

matter jurisdiction. For the reasons discussed below, the complaint fails to state a

claim upon which relief may be granted. In this case, amendment would be futile;

therefore, leave to amend will not be permitted.

                                  Subject Matter Jurisdiction

         Jurisdiction is “[a] court's power to decide a case or issue a decree.” 12 A

court’s subject matter jurisdiction is its “statutory or constitutional power to

adjudicate a case.”13 As a federal court, this Court has limited subject matter

jurisdiction. It possesses “only that power authorized by the Constitution and



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     Docket 1 at 5; Mr. Burns may have a cognizable claim under 28 U.S.C. § 2241,
depending on the circumstances of his pretrial detention and the length of his pre-trial
status. See, e.g., McNeely v. Blanas, 336 F.3d 822, 824 (9th Cir. 2003) (“[B]ecause
Petitioner is a pretrial detainee, . . . his claim falls under 28 U.S.C. § 2241.”); see also
Barker v. Wingo, 407 U.S. 514, 530 (1972) (establishing the four factors for evaluating
the right to speedy trial are (1) the length of the delay, (2) the reasons for the delay, (3)
the accused assertion of the right to speedy trial, and (4) the prejudice caused by the
delay.). Forms for self-represented litigants are available from the Clerk’s office at the
Alaska District Court.
12   Black’s Law Dictionary (9th ed. 2009) (definition of “jurisdiction”).
13   Steel Co. v. Citizens for Better Environment, 523 U.S. 83, 89 (1998).

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statute.”14 This means that the Court has the authority to hear only specified types

of cases.15 “In civil cases, subject matter jurisdiction is generally conferred upon

federal district courts either through diversity jurisdiction, 28 U.S.C. § 1332, or

federal question jurisdiction, 28 U.S.C. § 1331.”16

         Federal question jurisdiction provides a federal court the authority to

consider cases brought under the United States Constitution or federal statutes.17

The complaint cites to two federal criminal statutes and several amendments of

the U.S. Constitution important to criminal proceedings.18                   However, federal

criminal statutes do not give citizens a right to bring a civil lawsuit against a state

in federal court.        Federal criminal statutes are for the use of federal law

enforcement in order to prosecute federal crimes.19 Therefore, this Court does not

have federal question jurisdiction over this case.20




14Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citations
omitted); see also, e.g. A-Z Intern. V. Phillips, 323 F.3d 1141, 1145 (9th Cir. 2003).
15See, e.g., United States v. Marks, 530 F.3d 779, 810 (9th Cir. 2008), citing
DaimlerChrysler v. Cuno, 547 U.S. 332, 342 (2006); United States v. Sumner, 226 F.3d
1005, 1010 (9th Cir. 2000).
16   Peralta v. Hispanic Bus., Inc., 419 F.3d 1064, 1068 (9th Cir. 2005).
17   28 U.S.C. § 1331.
18   See Docket 1.
 See 18 U.S.C. § 2511(1) (permitting authorized and supervised communications
19

monitoring activities by law enforcement).
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   To the extent that Mr. Burns is arguing that the State of Alaska is violating his constitutional
rights, he can raise any such claims in his state criminal cases—not in a separate federal action.

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         When a court determines “that it lacks subject matter jurisdiction, the court

must dismiss the action.”21 In light of the foregoing, Mr. Burn’s complaint must be

dismissed for lack of subject matter jurisdiction.

IT IS THEREFORE ORDERED:


1. The Complaint is DISMISSED without leave to amend.

2. The Clerk of Court is directed to enter a Final Judgment in this case.

         DATED this 21st day of February, 2019 at Anchorage, Alaska.

                                               /s/ Sharon L. Gleason
                                               UNITED STATES DISTRICT JUDGE




21   Fed. R. Civ. P. (12)(h)(3).

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